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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

 ROTHSCHILD BROADCAST                       )
 DISTRIBUTION SYSTEMS, LLC,                 )
                                            )
               Plaintiff,                   )
                                            )
        v.                                  )       Civil Action No. 1:20-cv-00396-MN
                                            )
 PROJECT PANTHER US, LLC,                   )
                                            )
               Defendant.                   )


DEFENDANT PROJECT PANTHER US, LLC’S MOTION TO DISMISS COMPLAINT

       Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure and 35 U.S.C. § 101,

Defendant Project Panther US, LLC hereby moves to dismiss with prejudice Plaintiff Rothschild

Broadcast Distribution Systems, LLC Complaint (D.I. 1) for failure to state a claim upon which

relief may be granted. The grounds for this motion are set forth in the Opening Brief, which is

submitted herewith.


Dated: May 20, 2020                                   Respectfully submitted,

                                                      MORRIS JAMES LLP

OF COUNSEL:
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 DISTRIBUTION SYSTEMS, LLC,               )
                                          )
              Plaintiff,                  )
                                          )
       v.                                 )       Civil Action No. 1:20-cv-00396-MN
                                          )
 PROJECT PANTHER US, LLC,                 )
                                          )
              Defendant.                  )


                                 [PROPOSED] ORDER

      Having considered Defendant Project Panther US, LLC’s Motion to Dismiss Complaint;

      IT IS HEREBY ORDERED this ________ day of ___________, 2020 that the Motion is

GRANTED, and the Complaint is dismissed with prejudice.




                                                    ___________________________________
                                                    United States District Judge




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